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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

DANNY ALLEN                                          §
                                                     §
VS.                                                  §         CIVIL ACTION NO. 9:18-cv-50
                                                     §
SDR TRUCKING, LLC AND TIMOTHY                        §
DEWAYNE HARRELL                                      §         JURY REQUESTED

                        STIPULATION OF DISMISSAL OF DEFENDANTS

         Pursuant to F.R.C.P. 41(a)(1)(A)(ii), Plaintiff hereby and jointly agrees and stipulates that

Defendants, SDR Trucking, LLC and Timothy Dewayne Harrell, are dismissed as parties in this

action with prejudice.

         1.       Plaintiff, Danny Allen, sued Defendants, SDR Trucking, LLC and Timothy

                  Dewayne Harrell, on or about January 19, 2018.

         2.       The parties are properly before the court.

         3.       The Defendants reached a confidential settlement agreement with Plaintiff on

                  December 18, 2018.

         4.       This case is not a class action.

         5.       A receiver has not been appointed in this case.

         6.       This case is not governed by any federal statute that requires an order of the court

                  for dismissal of the case.

         7.       This dismissal of Defendants is with prejudice.




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LORANCE THOMPSON, PC

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